                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 UNITED STATES OF AMERICA,          )
                                    )
                 Plaintiff,         )
                                    )                        No. 3:15-CR-56
 v.                                 )
                                    )
 MAYRA EDITH BLAIR,                 )                        (VARLAN / SHIRLEY)
 FRANCISCO JAVIER CASTRO-REYES, and )
 LUCERO BELTRAN-CHIMAL,             )
                                    )
                 Defendants.        )


                                            ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to

 28 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

 District Court as may be appropriate. This case is before the Court on two motions [Docs. 136 &

 137] to continue the January 22, 2016 motion deadline. Defendants Castro-Reyes and Beltran-

 Chimal ask [Doc. 136] the Court to extend the motion deadline1 fifteen days to give additional

 time for counsel to complete a review of the voluminous discovery and to determine if motions

 are necessary. Defendant Mayra Blair also seeks [Doc. 137] to continue the motion deadline for




 1
  Although Defendants Castro-Reyes’ and Beltran’s motion is styled as a Motion . . . for
 Enlargement of Time to File Motions and to Continue the Trial and Deadlines, the body of the
 motion seeks to extend only the motion deadline and those deadlines related to pretrial motions.

                                                 1




Case 3:15-cr-00056-TAV-DCP          Document 138 Filed 01/26/16             Page 1 of 2     PageID
                                          #: 1237
 an unspecified time to give defense counsel time to review discovery and to prepare pretrial

 motions. Neither motion states whether the Government objects to the requested extension.2

                Although the Government has not had time to respond to the motions, the Court

 finds that the Government would not be prejudiced by a brief extension of the motion deadline

 and that such an extension would not affect the motion hearing on February 22, 2016, at 9:30

 a.m., or the July 19, 2016 trial date. However, the Court declines to extend the motion deadline a

 full fifteen days, because such an extension would not permit the Court to receive responses to

 motions before the day of the motion hearing. Accordingly, the Defendants’ requests [Docs. 136

 & 137] to extend the motion deadline are GRANTED in part, in that the deadline for

 Defendants Blair, Castro-Reyes, and Beltran-Chimal to file pretrial motions is extended to

 February 4, 2016. The Government’s deadline for responding to pretrial motions filed by these

 Defendants is extended to February 18, 2016. All other dates and deadlines in this case,

 including the motion hearing scheduled for February 22, shall remain the same at this time.

 Counsel for any Defendants who wish to attend the motion hearing must file a motion to permit

 their client to attend by February 15, 2016.

                IT IS SO ORDERED.

                                                ENTER:

                                                     s/ C. Clifford Shirley, Jr.
                                                United States Magistrate Judge



 2
  Defendants are referred to the Court’s Order on Discovery and Scheduling [Doc. 23], which
 directs that a “party seeking an extension of the deadline for filing a pretrial motion or response
 shall file a motion for an extension before the expiration of the deadline in question and shall
 state in that motion the proposed date for the new deadline and whether the opposing party
 objects or does not object to the requested extension.” Providing the opposing party’s position in
 the motion permits the Court to act quickly on requests for extensions of time.
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Case 3:15-cr-00056-TAV-DCP           Document 138 Filed 01/26/16              Page 2 of 2    PageID
                                           #: 1238
